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                       Document 3-2 1 Filed
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     8:08-cr-00223-AG     Document
                       Document 3-2 1 Filed
                                      Filed 08/27/2008
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   Case
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     8:08-cr-00223-AG     Document
                       Document 3-2 1 Filed
                                      Filed 08/27/2008
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   Case
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     8:08-cr-00223-AG     Document
                       Document 3-2 1 Filed
                                      Filed 08/27/2008
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   Case
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     8:08-cr-00223-AG     Document
                       Document 3-2 1 Filed
                                      Filed 08/27/2008
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   Case
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     8:08-cr-00223-AG     Document
                       Document 3-2 1 Filed
                                      Filed 08/27/2008
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   Case
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     8:08-cr-00223-AG     Document
                       Document 3-2 1 Filed
                                      Filed 08/27/2008
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   Case
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     8:08-cr-00223-AG     Document
                       Document 3-2 1 Filed
                                      Filed 08/27/2008
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     8:08-cr-00223-AG     Document
                       Document 3-2 1 Filed
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     8:08-cr-00223-AG     Document
                       Document 3-2 1 Filed
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     8:08-cr-00223-AG     Document
                       Document 3-2 1 Filed
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     8:08-cr-00223-AG     Document
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   Case
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     8:08-cr-00223-AG     Document
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   Case
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     8:08-cr-00223-AG     Document
                       Document 3-2 1 Filed
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     8:08-cr-00223-AG     Document
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     8:08-cr-00223-AG     Document
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     8:08-cr-00223-AG     Document
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                                      Filed 08/27/2008
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   Case
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     8:08-cr-00223-AG     Document
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     8:08-cr-00223-AG     Document
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